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 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-0024-MCE

11                                Plaintiff,             JOINT STATEMENT OF THE CASE

12                          v.                           TRIAL DATE: April 17, 2016
                                                         TIME: 9:00 a.m.
13   HELAMAN HANSEN,                                     COURT: Hon. Morrison C. England
14                                Defendant.

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17          Helaman Hansen is charged in the indictment with thirteen counts of mail fraud, three counts of

18 wire fraud, and two counts of encouraging and inducing illegal immigration for private financial gain.

19          With respect to the fraud charges, the government alleges that Mr. Hansen operated a scheme to

20 obtain money selling memberships in a “Migration Program” which the government alleges was based

21 on a false promise that adult illegal aliens residing in the United States could achieve United States

22 citizenship after being legally adopted by an American citizen and completing additional tasks.

23          With respect to the charges of encouraging and inducing illegal immigration for private financial

24 gain, the government alleges that Mr. Hansen encouraged and induced two persons who travelled to the

25 United States on visas to overstay those visas and remain in the United States illegally to participate in

26 his fraudulent Migration Program.

27          Mr. Hansen has pleaded not guilty to all the charges. He denies that the membership program

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 1 was fraudulent. He maintains that he [acted in good faith and]1 did not intend to defraud anybody, that

 2 he did not encourage aliens to remain in the United States illegally, and that he did not act for private

 3 financial gain.

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 5
         Dated: April 10, 2017                                 PHILLIP A. TALBERT
 6                                                             United States Attorney
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                                                        By: /s/ Andre M. Espinosa
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                                                               /s/ Timothy Zindel
11                                                             TIMOTHY ZINDEL
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12                                                             Attorneys for Helaman Hansen
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         Defendant requests the bracketed statement be included; the government requests that it be omitted.
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   In the government’s view, the joint statement should, like the Ninth Circuit’s model preliminary
18 instruction, simply state the charges in the indictment and the fact that the defendant has pleaded not
   guilty. See Ninth Circuit Model Criminal Instruction 1.2. Unlike in a civil case, where the Court
19 informs the jury that the defendant denies the claims and summarizes any counterclaims (see Ninth
   Circuit Model Civil Instructions 1.5), there are no counterclaims in a criminal case. It would be
20 completely unremarkable to give the jury the indictment either on paper or orally. See United States v.
   Utz, 886 F.2d 1148, 1151 (9th Cir. 1989). Thus, in a criminal case where only one party is asserting
21 claims, the Court should simply give the indictment to the jury or summarize it. Summarizing a defense
   would be inappropriate.
22
   In Defendant’s view, the “good faith” defense to fraud is well-established in the law and constitutes an
23 important part of the defense’s position in this case. See U.S. Attorneys’ Manual § 969 (“Good faith is
   recognized as a defense to a charge of mail or wire fraud.”); Ninth Circuit Model Criminal Instruction
24 3.16, cmt. (endorsing “good faith” instruction to define intent in a fraud case). The defense has already
   compromised with the government by agreeing to remove any reference to mental health issues. The
25 defense disagrees with the government’s position that a criminal defendant should not be afforded an
   opportunity to have his or her position summarized while a civil litigant (whose liberty is not in
26 jeopardy) should have that opportunity. The Ninth Circuit’s Model Criminal Instruction 1.2 is not to the
   contrary – it simply informs the jury of the presumption of innocence. It does not address joint
27 statements, let alone purport to limit what the defense may include in them. Thus, summarizing the
   defense – including the issue of “good faith” – is not only appropriate, it is necessary to inform the jury
28 of “the nature of this case” and defendant’s “claims.” (Doc. 64 at 2.)

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